                   Case 8-19-72773-las                     Doc 18       Filed 07/07/19    Entered 07/07/19 21:30:21


 Information to identify the case:
 Debtor 1               Eunjoo Jang                                                      Social Security number or ITIN   xxx−xx−7158
                        First Name    Middle Name    Last Name                           EIN _ _−_ _ _ _ _ _ _
 Debtor 2               Jongdo Won                                                       Social Security number or ITIN   xxx−xx−8403
 (Spouse, if filing)
                        First Name    Middle Name    Last Name                           EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               Eastern District of New York
                                                                                         Date case filed for chapter 7 4/16/19
 Case number:          8−19−72773−las



                    NOTICE OF NO CERTIFICATE OF DEBTOR EDUCATION OR
                                    OFFICIAL FORM 423
                  CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE

NOTICE IS HEREBY GIVEN THAT:

The above−named debtor(s) has not filed a Certificate of Debtor Education or Official Form 423 Certification About
a Financial Management Course in accordance with Bankruptcy Rules 1007(b)(7) and 1007(c).

Unless the aforementioned Certificate or Official Form 423 is filed by July 22, 2019, this case may be closed with no
discharge of debtor(s) having been entered.

Notice is further given that if the debtor(s) subsequently file(s) a Motion to Reopen the case to allow for the filing of
the Certificate of Debtor Education or Official Form 423 Certification About a Financial Management Course, the
debtor(s) must pay the full filing fee due for filing such a motion.


 Dated: July 7, 2019


                                                                               For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnfcer1.jsp [Notice of No Financial Certificate Filed rev. 02/01/17]
